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                          UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                           :
In re:                                                     :    Chapter 11
                                                           :
EAST VILLAGE PROPERTIES LLC, et al.,                       :    Case No. 17-22453 (RDD)
                                                           :
               Debtors.                                    :    (Jointly Administered)
                                                           :

    VERIFIED STATEMENT OF THE AD HOC TENANT GROUP COUNSEL UNDER
              FEDERAL RULE OF BANKRUPTCY PROCEDURE 2019

                 The Urban Justice Center Community Development Project and Mark

McDermott, George Zimmerman, Jason Kestecher, and Thania Charmani (collectively, the “Ad

Hoc Tenant Group Counsel”) hereby submit this verified statement (this “Statement”) pursuant

to Federal Rule of Bankruptcy Procedure 2019 and respectfully states as follows:


         1.      As of the date of this Statement, the Ad Hoc Tenant Group Counsel represent the

individuals listed on Exhibit A (collectively, the “Client Group”) as an ad hoc group of tenants of

multi-family properties owned by East Village Properties LLC and its affiliated debtors and

debtors-in-possession in connection with these Chapter 11 proceedings.1

         2.      In accordance with Federal Rule of Bankruptcy Procedure 2019(c), Exhibit A lists

the addresses and the “nature and amount of each disclosable economic interest” held, advised,

or managed by such member of the Client Group, or for which such member has investment or

voting discretion or control as of the date set forth in Exhibit A.

         3.      In these proceedings, the Ad Hoc Tenant Group Counsel represent only the

interests of the Client Group listed on Exhibit A and does not represent any other entities or

1
 The Urban Justice Center can retain co-counsel of its choice pursuant to retainer agreements executed with
members of the Client Group and Skadden, Arps, Slate, Meagher & Flom LLP, retained as co-counsel, is still
gathering executed signature pages to its engagement letter.
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interests in connection with these proceedings. In addition, each member of the Client Group

does not purport to act, represent or speak on behalf of any other entity in connection with these

proceedings.

       4.      Nothing contained in this Statement (or Exhibit A hereto) should be construed as

a limitation upon, or waiver of, any member of the Client Group’s rights to assert, file and/or

amend its claim(s) in accordance with applicable law and any orders entered in these Chapter 11

cases establishing procedures for filing proofs of claim.

       5.      A supplemental statement detailing any material changes to the above statements

will be filed to the extent any should occur.

       6.      The information contained herein is intended only to comply with Federal Rule of

Bankruptcy Procedure 2019 and is not intended for any other use or purpose.

       7.      The undersigned verifies under penalty of perjury that the foregoing is true and

correct.


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Dated: May 15, 2017

                                     URBAN JUSTICE CENTER COMMUNITY
                                     DEVELOPMENT PROJECT

                                     /s/ Greg Baltz
                                     Stephanie Rudolph
                                     Greg Baltz
                                     123 William St., 16th Floor
                                     New York, New York 10038

                                     Co-Counsel to the Ad Hoc Tenant Group



                                     /s/ Mark A. McDermott
                                     Mark A. McDermott
                                     George Zimmerman
                                     Jason Kestecher
                                     Thania Charmani
                                     Four Times Square
                                     New York, New York 10036-6522
                                     Telephone: (212) 735-3000
                                     Fax: (212) 735-2000
                                     Co-Counsel to the Ad Hoc Tenant Group
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                                         EXHIBIT A

  Name of Client                Nature of Interests

  Ali Ferrari-Fontana           Lease at 223 East 5th St., Apt. 15, New York, NY 10003

  Adriana Lopez                 Lease at 229 East 5th St., Apt. 1, New York, NY 10003

  April Diaz                    Lease at 229 East 5th St., Apt. 10, New York, NY 10003

  James Horwitz                 Lease at 231 East 5th St., Apt. 1, New York, NY 10003

  David Longmire                Lease at 231 East 5th St., Apt. 2, New York, NY 10003

  Judith Simonian               Lease at 231 East 5th St., Apt. 5, New York, NY 10003

  Judith Schwartz               Lease at 231 East 5th St., Apt. 6, New York, NY 10003

  Nina d’Alessandro             Lease at 231 East 5th St., Apt. 8, New York, NY 10003

  James Markowich               Lease at 233 East 5th St., Apt. 2, New York, NY 10003

  Sandra Mayer                  Lease at 233 East 5th St., Apt. 2, New York, NY 10003

  Rebecca Alexander             Lease at 233 East 5th St., Apt. 3, New York, NY 10003

  Monty Stuson                  Lease at 233 East 5th St., Apt. 3, New York, NY 10003

  Stuart Zamsky                 Lease at 235 East 5th St., Apt. 1, New York, NY 10003

  Kim Wurster                   Lease at 235 East 5th St., Apt. 1, New York, NY 10003

  Jennifer Bekman               Lease at 235 East 5th St., Apt. 2, New York, NY 10003

  Daisy Negron                  Lease at 235 East 5th St., Apt. 3, New York, NY 10003

  Sally Young                   Lease at 235 East 5th St., Apt. 7, New York, NY 10003
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  James Dougherty               Lease at 235 East 5th St., Apt. 7, New York, NY 10003

  Karla Rohland                 Lease at 228 East 6th St., Apt. 8, New York, NY 10003

  Marilyn Duryea                Lease at 228 East 6th St., Apt. 20, New York, NY 10003

  Ramon Woo                     Lease at 66 East 7th St., Apt. 15, New York, NY 10003

  Tammy McJannet                Lease at 27 St. Marks Pl., Apt. 2A, New York, NY 10003

  Irena Kadovic                 Lease at 27 St. Marks Pl., Apt. 2B, New York, NY 10003

  Beth Carey                    Lease at 27 St. Marks Pl., Apt. 4A, New York, NY 10003

  Kristen Carey                 Lease at 27 St. Marks Pl., Apt. 5A, New York, NY 10003

  Roy Zornow                    Lease at 27 St. Marks Pl., Apt. 5B, New York, NY 10003

  Suzanne Ethier                Lease at 27 St. Marks Pl., Apt. 6D, New York, NY 10003

  Loretta Mock                  Lease at 253 East 10th St., Apt. 1, New York, NY 10009

  Susan Rabinowitz              Lease at 253 East 10th St., Apt. 3, New York, NY 10009

  Vann D. William Jr.           Lease at 253 East 10th St., Apt. 7, New York, NY 10009

  Pamela Jay Eisman             Lease at 253 East 10th St., Apt. 11, New York, NY 10009

  Meagan King                   Lease at 253 East 10th St., Apt. 19, New York, NY 10009

  Richard Harrington            Lease at 253 East 10th St., Apt. 20, New York, NY 10009

  Christine Zic                 Lease at 325 E 12th St., Apt. 1B, New York, NY 10003

  Marilyn Searcy                Lease at 325 E 12th St., Apt. 1E, New York, NY 10003




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  Arlae Castellanos               Lease at 325 E 12th St., Apt. 2D, New York, NY 10003

  Trissy Callan                   Lease at 325 E 12th St., Apt. 3A, New York, NY 10003

  Elizabeth Haak                  Lease at 325 E 12th St., Apt. 3E, New York, NY 10003

  Patricia Triana                 Lease at 325 E 12th St., Apt. 4B, New York, NY 10003

  Jessica Smith                   Lease at 325 E 12th St., Apt. 4F, New York, NY 10003

  Kathleen Wakeham                Lease at 325 E 12th St., Apt. 5B, New York, NY 10003

  William Engel                   Lease at 325 E 12th St., Apt. 5E, New York, NY 10003

  Cate McNider                    Lease at 325 E 12th St., Apt. 5F, New York, NY 10003

  Anna Hutchings                  Lease at 325 E 12th St., Apt. 6A, New York, NY 10003

  Ellen Hutchings                 Lease at 325 E 12th St., Apt. 6A, New York, NY 10003

  Jaime Perez Manzano             Lease at 325 E 12th St., Apt. 6B, New York, NY 10003

  Kathleen Berry                  Lease at 325 E 12th St., Apt. 6F, New York, NY 10003

  Wallace Lane Jr                 Lease at 327 East 12th St., Apt. 22, New York, NY 10003

  Laura Martin                    Lease at 329 East 12th St., Apt. 6, New York, NY 10003

  Daneyal Mahmood                 Lease at 329 East 12th St., Apt. 11, New York, NY 10003

  Mary Javorek                    Lease at 329 East 12th St., Apt. 15, New York, NY 10003

  Martina Raduan                  Lease at 510 East 12th St., Apt. 4, New York, NY 10009

  Carmen Vargas                   Lease at 514 East 12th St., Apt. 18, New York, NY 10009




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  Joanne Sanchez                Lease at 514 East 12th St., Apt. 18, New York, NY 10009

  Holly Slayton                 Lease at 514 East 12th St., Apt. 20, New York, NY 10009




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